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                                                                                     FEB -1 2018
                            UNITED STATES DISTRICT COURT
                                                                                   U.S. DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI                         EASTERN DISTRICT OF MO
                                  EASTERN DNISION                                        ST. LOUIS


UNITED STATES OF AMERICA,                           )
                                                    )
                                                           USDC-NE Case no. 4:18cr3074
           Plaintiff,                               )
                                                    )
V.                                                  )
                                                    )
                                                    )      4:18CR90 RWS/NCC
TAYLOR WILSON,                                      )
                                                    )
           Defendant.                               )

                                        INDICTMENT

                                           COUNT I


The Grand Jury charges that:

     From in or about September 2015, through December 23, 2017, in the Eastern District of

Missouri, and elsewhere,

                                      TAYLOR WILSON

the defendant herein, did knowingly possess a machine gun, as that term is defined in Title 18,

United States Code, Section 921 (a)(23) and Title 26, United States Code, Section 5845(a) and

(b), that is a 7.62x25mm Tokarev caliber Pioneer Arms Corp. model PPS43-C submachine-gun.

     In violation of Title 18, United States Code, Sections 922(0) and punishable under 924(a)(2).
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                                            COUNT II

     The Grand Jury further charges that:

     From in or about September 2015, through December 23, 2017, in the Eastern District of

Missouri, and elsewhere,



                                      TAYLOR WILSON

the defendant herein, did lmowingly possess a firearm, that is, a 7.62x25mm Tokarev caliber

Pioneer Arms Corp. model PPS43-C submachine gun that had been shipped and transported in

interstate commerce at some time during or prior to the defendant's possession and from which

the manufacturer's and importer's serial number had been removed, altered and obliterated.

          ID violation of Title 18, United States Code, Sections 922(k) and 924(a)(l)(B).



                                            COUNT ID

     The Grand Jury further charges that:

     From in or about September 2015, through December 23, 2017, in the Eastern District of

Missouri, and elsewhere,

                                      TAYLOR WILSON

the defendant herein, did lmowingly possess a machinegun, as that term is defined in Title 18,

United States Code, Section 921 (a)(23) and Title 26, United States Code, Section 5845(a) and (b),

that being a 7.62x25mm Tokarev caliber Pioneer Arms Corp; model PPS43-C submachine-gun

which was not registered to the defendant in the National Firearms Registration and Transfer

Record.

     ID violation of Title 26, United States Code, Section 5861(d) and punishable under Title 26,
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r
    United States Code, Section 5871.



                                               COUNT IV

    The Grand Jury further charges that:

         From in or about September 2015, through December 23, 2017, in the Eastern District of

    Missouri, and elsewhere,

                                           TAYLOR WILSON,

    the defendant herein, did knowingly receive and possess a fireann, as that term is defined in Title

    18, United States Code, Section 921 (a)(8) and Title 26, United States Code, Section 5845(a) that

    being a 9mm Luger caliber CZ model Scorpion Evo 3 Sl rifle, serial number B806444, which was

    not registered to the defendant in the National Firearms Registration and Transfer Record.

         In violation of Title 26, United States Code, Section 5861(d) and punishable under Title 26,

    United States Code, Section 5871.




                                           A TRUE BILL.



                                           FOREPERSON




    JEFFREY B. JENSEN
    United States Attorney



    MATTHEW T. DRAKE-46499MO
    Assistant United States Attorney - 46499
